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                    UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF GEORGIA
                            STATESBORO DIVISION


ELIJAH NAHUM SIMMONS,

          Movant,
V.                                                  Case No. CV613-112
                                                             CR6 10-00 1
UNITED STATES OF AMERICA,

          Respondent.

                      REPORT AND RECOMMENDATION

          Elijah Nahum Simmons pled guilty to conspiracy to possess with

intent to distribute controlled substances. (Cr. doe. 101.)' In doing so,

he both waived his direct appeal and collateral review rights. 2 (Cr. dec.


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        Unless otherwise noted, citations are to the docket in Simmons's civil § 2255
case, number CV613-112. "Cr. doe." refers to documents filed under his criminal
case, CR610-001. Additionally, page references are to the CM/ECF screen page
rather than the referenced document's own internal pagination.
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         The plea agreement states:

     To the maximum extent permitted by federal law, the defendant voluntarily
     and expressly waives the right to appeal the conviction and sentence and the
     right to collaterally attack the sentence in any post-conviction proceeding,
     including a § 2255 proceeding, on any ground, except that: the defendant may
     file a direct appeal of his sentence if it exceeds the statutory maximum; and
     the defendant may file a direct appeal of his sentence if, by variance or upward
     departure, the sentence is higher than the advisory sentencing guideline range
     as found by the sentencing court.

(Cr. doe. 154 at 8.) Simmons's advisory sentencing range was 262 to 327 months, but
the statutory maximum was 240 months. (Presentence Investigation Report ("PSI")
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154 at 8; Cr. doe. 187 (report and recommendation recommending that

despite waiver, Simmons be permitted to appeal his conviction and

sentence), adopted Cr. doc. 191.) Despite the double waiver, Simmons

was permitted to appeal his conviction and sentence on the ground that

his attorney had refused to file an appeal after Simmons directed him to

do so. (Cr. doe. 154 at 15.) On appeal, counsel filed an Anders brief. The

Court of Appeals agreed that it could find no appealable issues and

affirmed Simmons' conviction and sentence. United States v. Simmons,

504 F. App'x 823 (11th Cir. 2013). He has now returned to this Court

seeking 28 U.S.C. § 2255 relief. (Doe. 1.) His motion should be denied.

I. ANALYSIS

      Simmons raises a single claim for relief. He states that he was

erroneously sentenced as a U.S.S.C. § 4B1.1 career offender and that his

sentencing and appellate attorneys were ineffective for failing to raise

the error at sentencing and on appeal. (Doe. 1 at 3.) Simmons, however,

waived all post-plea claims by entering into his plea agreement's double

waiver. Thompson v. United States, 353 F. App'x 234, 235 (11th Cir.


at 22.) He was sentenced to serve 240 months. (Cr. doe. 151.) Additionally, the
government did not appeal his sentence. As such, he has not shown that he is subject
to any sort of exception to his collateral waiver.

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2009); United States v. Orozc-Picazo, 391 F. App'x 761, 771 (11th Cir.

2010) (defendant's appeal waiver in pleading guilty to drug and gun

conspiracy charges precluded appellate review of his claim that district

court erred in imposing consecutive sentences; district court questioned

defendant concerning appeal waiver during plea colloquy, and it did not

impose sentence that was higher than that called for by advisory

guidelines). His double waiver thus precludes his claim, since it does not

go to the validity of his guilty-plea agreement. See Patel v. United States,

252 F. App'x 970, 974-75 (11th Cir. 2007) (IAC claim figuring into

validity of defendant's guilty plea is not barred by double waiver) (citing

Williams v. United States, 396 F.3d 1340, 1342 n.2 (11th Cir. 2005)

("there may be a distinction between a § 2255 claim of ineffective

assistance in entering or negotiating the plea versus a claim of

ineffectiveness at sentencing or a claim challenging the validity of the

plea or agreement."); United States v. Smith, 759 F.3d 702, 708 (7th Cir.

2014) ("Smith knowingly and voluntarily waived his appellate rights,

including his right on appeal to contend that his counsel below was

ineffective as to any matter other than the waiver and his negotiation of
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it.") (emphasis added); Holland v. United States, 2014 WL 5241531 at *2..

3 (S.D. Ga. Oct 14, 2014).

      Simmons has not raised a claim that his counsel somehow misled

him into accepting the plea agreement. 3 His only claim goes to a

sentencing guidelines error and in his original § 2255 proceedings he

actually conceded that he understood and agreed to the waiver. "There

is no question that the district court discussed and specifically

questioned Movant regarding the plea waiver. There is also no dispute

that the record unequivocally show[s] Simmons indicating that he

understood the plea waiver. 114 (Cr. doe. 169 at 24.)


      In his reply brief, he states that the appeal waiver was "involuntary,
unknowingly, and unintelligently [entered into] based upon the ineffective assistance
of counsel who counseled Petitioner to execute the waiver." (Doe. 4 at 2.) The Court
rejects this out of hand, as the claim is entirely conclusory. He offers no facts
supporting his contention that he was coerced into signing the plea agreement.
Moreover, as noted in text, he has admitted in prior filings and on the record before
the sentencing judge that he understood the waiver and did not enter into it under
any sort of duress. (Cr. doe. 179 (transcript of Fed. R. Crim. P. 11 proceeding replete
with affirmations that he understood the waiver and was entering into it knowingly
and voluntarily).)

     As the Eleventh Circuit explained, while analyzing an appeal-waiver case:

   For such a waiver to be effective, it must be made knowingly and voluntarily.
   United States u. Bushert, 997 F.2d 1343, 1351 (11th Cir. 1993). To establish
   that the waiver was made knowingly and voluntarily, the government must
   show either (1) "the district court specifically questioned the defendant" about
   the waiver during the plea colloquy, or (2) the record makes clear "that the
   defendant otherwise understood the full significance of the waiver." Id. at
   1351. "An appeal waiver includes the waiver of the right to appeal difficult or
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II. CONCLUSION

      Elijah Simmons's § 2255 motion should be DENIED. Applying the

Certificate of Appealability ("COA") standards, the Court discerns no

COA-worthy issues at this stage of the litigation, so no COA should issue.

28 U.S.C. § 2253(c)(1). And, as there are no non-frivolous issues to raise

on appeal, an appeal would not be taken in good faith. Thus, in forma

pauperis status on appeal should likewise be DENIED. 28 U.S.C. §

1915(a)(3).

      SO REPORTED AND RECOMMENDED this                                       day of

October, 2014.

                                       UNITELy'STATES MAGISTRATE JUDGE
                                       SOUTHERN DISTRICT OF GEORGIA




   debatable legal issues or even blatant error." United States v. Grin ard-Henry,
   399 F.3d 1294, 1296 (11th Cii'. 2005) (per curiam). We have held an appeal
   waiver valid where the waiver provision was referenced during the plea
   colloquy and the defendant agreed that she understood the provision and
   entered into it freely and voluntarily. United States v. Weaver, 275 F.3d 1320,
   1333 (11th Cir. 2001).

United States v. Peerani, 576 F. App'x 949, 950 (11th Cir. 2014); see also United
States v. Bentley, 571 F. App'x 760, 764 (11th Cii'. 2014) ("A sentence appeal waiver
must be made knowingly and voluntarily. The waiver is valid if the government
shows either that: (1) the district court specifically questioned the defendant about
the waiver; or (2) the record otherwise makes clear that the defendant understood
the full significance of the waiver.") (citation omitted).

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